36 F.3d 1108
    NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.SEDA INTERNATIONAL PLASTIC, Plaintiff-Appellant,v.ARPAK PLASTICS, INC. and American Safety Closure Corp.,Defendants-Appellees.
    No. 94-1291.
    United States Court of Appeals, Federal Circuit.
    June 9, 1994.
    
      1
      DISMISSED.
    
    ORDER
    
      2
      The appellant having failed to pay the docketing fee required by Federal Circuit Rule 52(a)(1) within the time permitted by the rules, it is
    
    
      3
      ORDERED that the notice of appeal be, and the same hereby is, DISMISSED, for failure to prosecute in accordance with the rules.
    
    